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U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N DI S T RI C T O F N E W Y O R K
---------------------------------------------------------------------- X
                                                                        :
ST ATE OF NE W Y O R K,                                                 :
                                                                        :
                                            Pl ai ntiff,                :                                 2 0 -C V -1 1 2 7 (J M F)
                                                                        :
                      -v -                                              :
                                                                        :
C H A D F. W O L F, i n his offi ci al c a p a cit y as A cti n g       :
S e cr et ar y of H o m el a n d S e c urit y , et al.,                 :
                                                                        :
                                             D ef e n d a nts.          :
                                                                        :
---------------------------------------------------------------------- X
                                                                        :
R. L’ H E U R E U X L E WI S -M C C O Y et al., o n b e h alf of        :
t h e ms el v es a n d all si mil arl y sit u at e d i n di vi d u als, :
                                                                        :                                 2 0 -C V -1 1 4 2 (J M F)
                                            Pl ai ntiff s,              :
                                                                        :
                      -v -                                              :                          M E M O R A N D U M O PI NI O N
                                                                        :                                   A N D OR DER
C H A D W O L F, i n his offi ci al c a p a cit y as A cti n g          :
S e cr et ar y of H o m el a n d S e c urit y , et al.,                 :
                                                                        :
                                             D ef e n d a nts.          :
                                                                        :
---------------------------------------------------------------------- X

J E S S E M. F U R M A N, U nit e d St at es Distri ct J u d g e:

           Pl ai ntiffs i n t h es e c as es c h all e n g e a d e cisi o n b y t h e A cti n g S e cr et ar y of H o m el a n d

S e c urit y t o pr o hi bit N e w Y or k r esi d e nts fr o m e nr olli n g or r e-e nr olli n g i n “ Tr ust e d Tr a v el er

Pr o gr a ms, ” i n cl u di n g t h e Gl o b al E ntr y Pr o gr a m, i n p art o n t h e gr o u n d t h at t h e d e cisi o n vi ol at es

t h e A d mi nistr ati v e Pr o c e d ur e A ct ( “ A P A ”). S e e 2 0 -C V -1 1 2 7, E C F N o. 1, ¶ ¶ 2 8, 5 1, 1 1 4 -1 3 4;

2 0 -C V -1 1 4 2, E C F N o. 1, ¶ ¶ 2, 9 0 -9 3. I n a d v a n c e of t h e i niti al pr etri al c o nf er e n c e h el d o n M ar c h

2 6, 2 0 2 0, t h e p arti es dis a gr e e d wit h r es p e ct t o w h et h er D ef e n d a nts s h o ul d b e r e q uir e d t o pr o d u c e

a l o g of a n y d o c u m e nts wit h h el d fr o m t h e A d mi nistr ati v e R e c or d o n t h e b asis of pri vil e g e. S e e
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E C F N o. 2 0, at 4 -6 .1 G ui d e d b y t h e f a ct t h at it h a d or d er e d pr o d u cti o n of a pri vil e g e l o g u n d er

stri ki n gl y si mil ar cir c u mst a n c es i n St at e of N e w Y or k v. D e p art m e nt of C o m m er c e , s e e 1 8 -C V -

2 9 2 1 (J M F), E C F N o. 2 0 5, at 7 8 ( S. D. N. Y. J ul y 3, 2 0 1 8) , t h e C o urt h el d t h at D ef e n d a nts w er e

r e q uir e d t o pr o d u c e a l o g wit hi n a w e e k of pr o d u ci n g t h e A d mi nistr ati v e R e c or d (t h at is, b y M a y

1, 2 0 2 0). E C F N o . 2 2, at 2; E C F N o. 3 1, at 9. N e v ert h el ess, t h e C o urt i n vit e d D ef e n d a nts t o

s e e k r eli ef fr o m t h at o bli g ati o n if t h e y “ b eli e v e[ d] t h at t h e y s h o ul d n ot b e r e q uir e d t o pr o vi d e a

pri vil e g e l o g. ” E C F N o. 2 2, at 2 . D ef e n d a nts n o w m o v e f or s u c h r eli ef. S e e E C F N os. 2 3

( “ D efs.’ Ltr.”) , 4 2 ( “ D efs.’ S u p p. Ltr. ”). Pl ai ntiffs o p p os e t h eir r e q u est . S e e E C F N os. 2 4, 4 1.

           U p o n r e vi e w of t h e p arti es’ s u b missi o ns, t h e C o urt a d h er es t o its pri or or d er. T o e v al u at e

c h all e n g es u n d er t h e A P A, t h e C o urt m ust r e vi e w t h e “ w h ol e r e c or d ” — t h at is, t h e “f ull

a d mi nistr ati v e r e c or d t h at w as b ef or e t h e S e cr et ar y at t h e ti m e h e m a d e his d e cisi o n. ” Citiz e ns t o

Pr es er v e O v ert o n P ar k, I n c. v. V ol p e , 4 0 1 U. S. 4 0 2, 4 1 9 -2 0 ( 1 9 7 1), a br o g at e d o n ot h er gr o u n d s

b y C alif a n o v. S a n d ers , 4 3 0 U. S. 9 9, 1 0 5 ( 1 9 7 7); s e e 5 U. S. C. § 7 0 6 (r e q uiri n g t h at “t h e c o urt

s h all r e vi e w t h e w h ol e r e c or d or t h os e p arts of it cit e d b y a p art y ” i n d et er mi ni n g w h et h er a n

a g e n c y a cti o n vi ol at e d t h e A P A). T h e f ull a d mi nistr ati v e r e c or d i n cl u d es “ n ot o nl y m at eri als

dir e ctl y c o nsi d er e d b y t h e a g e n c y d e cisi o n m a k er, b ut als o all m at eri als t h at mi g ht h a v e

i nfl u e n c e d t h e a g e n c y’s d e cisi o n, i n cl u di n g a n y w or k a n d r e c o m m e n d ati o ns of s u b or di n at es o n

w hi c h t h e a g e n c y d e cisi o n m a k er b as e d his or h er d e cisi o n. ” B at all a Vi d al v. D u k e , N o. 1 6-C V -

4 7 5 6 ( N G G) (J O), N o. 1 7 -C V -5 2 2 8 ( N G G) (J O), 2 0 1 7 W L 4 7 3 7 2 8 0, at * 5 ( E. D. N. Y. O ct. 1 9,

2 0 1 7) (i nt er n al q u ot ati o n m ar ks o mi tt e d). T h e a d mi nistr ati v e r e c or d d o es n ot t e c h ni c all y i n cl u d e

pri vil e g e d d o c u m e nts . S e e, e. g. , St at e of N e w Y or k v. U. S. I m mi gr ati o n & C ust o ms E nf’t ( “St at e

of N e w Y or k v. I C E ” ), — F. S u p p. 3 d — , N o. 1 9 -C V -8 8 7 6 (J S R), 2 0 2 0 W L 6 0 4 4 9 2, at * 2



1
           U nl ess ot h er wis e n ot e d, all cit ati o ns ar e t o t h e d o c k et i n C as e N o. 2 0 -C V -1 1 2 7 (J M F).

                                                                         2
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( S. D. N. Y. F e b. 9, 2 0 2 0). B ut si g nifi c a ntl y, t h at is tr u e o nl y if t h e “ pri vil e g e w as pr o p erl y

i n v o k e d, ” i d., a n d “ w it h o ut a pri vil e g e l o g, ” a c o urt is “ u n a bl e t o e v al u at e t h e G o v er n m e nt’s

ass erti o ns of pri vil e g e ,” I n r e Ni els e n, N o. 1 7-3 3 4 5 , sli p o p. at 3 ( 2 d Cir. D e c. 2 7, 2 0 1 7)

( u n p u blis h e d or d er); s e e C o oli n g W at er I nt a k e Str u ct ur e C o al. v. U. S. E n v ’t Pr ot. A g e n c y , 9 0 5

F. 3 d 4 9, 6 5 n. 9 ( 2 d Cir. 2 0 1 8) ( d e n yi n g a m oti o n t o i n cl u d e d o c u m e nts i n t h e a d mi nistr ati v e

r e c or d aft er r e vi e wi n g “ a pri vil e g e l o g t h at a d e q u at el y d es cri b es t h e n at ur e of t h e s e v e n

r e q u est e d d o c u m e nts a n d [t h e a g e n c y’s] r ati o n al e f or cl assif yi n g t h os e d o c u m e nts as d eli b er ati v e

a n d t h er ef or e pri vil e g e d ”); N at ’l N utriti o n al F o o ds Ass’n v. M at h e ws , 5 5 7 F. 2 d 3 2 5, 3 3 3 ( 2 d Cir.

1 9 7 7) ( n oti n g t h at t h e “ distri ct c o urt r e vi e w e d t h es e d o c u m e nts i n c a m er a a n d d et er mi n e d t h at

t h e y w er e wit hi n t h e s c o p e of t h e G o v er n m e nt’s d eli b er at e pri vil e g e ”).

           H er e, D ef e n d a nts c o n c e d e t h at t h e y wit h h el d p orti o ns of d o c u m e nts fr o m t h e

A d mi nistr ati v e R e c or d o n t h e b asis of pri vil e g e. S e e E C F N o. 3 6, at 1 n. 1 ( “ T h e A d mi nistr ati v e

R e c or d als o c o nt ai ns r e d a cti o ns r efl e cti n g D ef e n d a nts’ ass erti o n of pri vil e g es. ”). F or e x a m pl e,

D ef e n d a nts r e d a ct e d s e cti o ns of a J a n u ar y 2 7, 2 0 2 0 m e m or a n d u m t o t h e A cti n g S e cr et ar y of

H o m el a n d S e c urit y c o n c er ni n g “ C o m p o n e nt O p er ati o n al I m p a ct Ass ess m e nts of St at e L a ws

R estri cti n g t h e S h ari n g of D M V D at a wit h D H S ” — i n cl u di n g t h e N e w Y or k l a w at iss u e i n t his

c as e. S e e E C F N o. 3 7 -1, at 3 1 -3 2. D ef e n d a nts l a b el e d t h es e r e d a cti o ns “ pr e d e cisi o n al/

d eli b er ati v e/ la w e nf or c e m e nt s e nsiti v e, ” s e e i d. at 3 1 -4 1 , b ut t h e y d o n ot “ a d e q u at el y d es cri b e []

t h e n at ur e of t h e . . . d o c u m e nts a n d [t h e a g e n c y’s] r ati o n al e f or cl assif yi n g t h os e d o c u m e nts as

d eli b er ati v e a n d t h er ef or e pri vil e g e d ,” C o oli n g W at er I nt a k e , 9 0 5 F. 3 d at 6 5 n. 9. A n d s e p ar at e

a n d a p art fr o m t h e s e c o n c e d e d r e d a cti o ns, t h er e is g o o d r e as o n t o b eli e v e t h at D ef e n d a nts

o mitt e d e ntir e d o c u m e nts fr o m t h e A d mi nistr ati v e R e c or d o n t h e b asis of pri vil e g e. A m o n g

ot h er t hi n gs , t h e A d mi nistr ati v e R e c or d is a m er e si xty -f o ur p a g es l o n g. S e e E C F N o. 3 7 -1 . P ut



                                                                         3
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si m pl y, it is “ diffi c ult t o i m a gi n e t h at a d e cisi o n as i m p ort a nt as” t h e o n e c h all e n g e d h er e — t o

e x cl u d e e v er y r esi d e nt of t h e c o u ntr y ’s f o urt h l ar g est st at e fr o m e nr olli n g or r e -e nr olli n g i n a

pr o gr a m m a n d at e d b y t h e Int elli g e n c e R ef or m a n d T err oris m P r e v e nti o n A ct of 2 0 0 4, 8 U. S. C.

§ 1 3 6 5 b( k)( 3)( A) — “ w o ul d b e m a d e b as e d u p o n a f a ct u al r e c or d ” t h at s p ars e. I n r e Ni els e n,

sli p o p. at 3 (r e a c hi n g a si mil ar c o n cl usi o n b as e d o n a 5 6-p a g e a d mi nistr ati v e r e c or d) .2

           D ef e n d a nts ar g u m e nts a g ai nst pr o d u ci n g a pri vil e g e l o g ar e u n p ers u asi v e . D ef e n d a nts

pri n ci p all y ar g u e t h at t h e y s h o ul d n ot b e r e q uir e d t o pr o d u c e a pri vil e g e l o g b e c a us e

“ d eli b er a ti v e or ot h er wis e pri vil e g e d m at eri als . . . ar e n ot pr o p erl y c o nsi d er e d t o b e p art of t h e

r e c or d ” a n d b e c a us e r e q uiri n g a pri vil e g e l o g “ w o ul d u n d er mi n e t h e pr es u m pti o n of c orr e ct n ess

t h at att a c h es t o a n a g e n c y’s d esi g n ati o n of t h e r e c or d. ” D efs.’ Ltr. 2 ( citi n g O c e a n a, I n c. v. R oss ,

9 2 0 F. 3 d 8 5 5 ( D. C. Cir. 2 0 1 9)) . A s D ef e n d a nts a c k n o wl e d g e, h o w e v er, t h es e ar g u m e nts ar e

c o ntr ar y t o r e c e nt a ut h orit y i n t his Cir c uit, i n cl u di n g t h e S e c o n d Cir c uit’s d e cisi o n i n I n r e

Ni els e n , t his C o urt’s d e cisi o n i n St at e o f N e w Y or k v. D e p art m e nt of C o m m er c e , a n d J u d g e

R a k off’s d e cisi o n i n St at e of N e w Y or k v. U. S. I m mi gr ati o n a n d C ust o ms E nf or c e m e nt . S e e

D efs.’ Ltr. 2 -3. As J u d g e R a k off a bl y p ut it, w hil e d eli b er ati v e m at eri als m a y n ot b e p art of t h e

a d mi nistr ati v e r e c or d, “[i]t d o es n ot f oll o w fr o m t his pr e mis e . . . t h at c o urts s h o ul d n ot h a v e a

r ol e i n r e vi e wi n g w h et h er t his pri vil e g e w as pr o p erl y i n v o k e d a n d a p pli e d t o p arti c ul ar

d o c u m e nts s o wit h h el d. C o urts r o uti n el y m a k e d et er mi n ati o ns of pri vil e g e i n ot h er c o nt e xts, a n d




2
            I n a d diti o n, D ef e n d a nts s o u g ht a l ast-mi n ut e e xt e nsi o n of ti m e t o pr o d u c e t h e
A d mi nistr ati v e R e c or d t o d e ci d e w h et h er t o i n cl u d e o n e d o c u m e nt — a d e cisi o n t h at w as b e i n g
“ a d dr ess e d ur g e ntl y at t h e hi g h est l e v els of [t h e U. S. Att or n e y’s Offi c e f or t h e S o ut h er n Distri ct
of N e w Y or k] a n d b y [t h e D e p art m e nt of J usti c e], . . . [i n] c o ns ult ati o n a n d c o or di n ati o n wit h t h e
D e p art m e nt of H o m el a n d S e c urit y. ” E C F N o. 3 4. I n a l ett er l at er t h e s a m e d a y, D ef e n d a nts
r e p ort e d t h at t h e y h a d “r es ol v e d t h e o utst a n di n g iss u e , ” b ut c o ns pi c u o usl y r efr ai n e d fr o m
dis cl os i n g w h et h er t h e d o c u m e nt at iss u e w as ulti m at el y i n cl u d e d i n t h e A d mi nistr ati v e R e c or d
or wit h h el d — a n d if t h e l att er, o n w h at b asis. S e e E C F N o. 3 9.

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t h e y ar e e x p ert at d oi n g s o. . . . T h er e is n o r e as o n w h y c o urts c a n n ot m a k e i d e nti c al

d et er mi n ati o ns i n A P A l a ws uits i n or d er t o d et er mi n e t h e pr o p er s c o p e of t h e a d mi nistr ati v e

r e c or d.” 2 0 2 0 W L 6 0 4 4 9 2, at * 2 ; s e e als o O c e a n a , 9 2 0 F. 3 d at 8 6 5 ( n oti n g t h at “f urt h er a cti o n

or i n q uir y b y t h e Distri ct C o urt ” w o ul d b e j ustifi e d if “ a r e d a ct e d d o c u m e nt w as pl a c e d i n t h e

a d mi nistr ati v e r e c or d a n d t h er e w as a cr e di bl e s h o wi n g t h at t h e r e d a cti o ns m a y h a v e o bs c ur e d

f a ct u al i nf or m ati o n n ot ot h er wis e i n t h e r e c or d ” or t h er e w as a “s u bst a nti al s h o wi n g . . . t h at t h e

r e c or d w as i n c o m pl et e ” (i nt er n al q u ot ati o n m ar ks o mitt e d)).

           I n d e e d, as J u d g e R a k off f ur t h er e x pl ai ne d i n his p ers u asi v e o pi ni o n, “[ a]ll o wi n g c o urts a

r ol e i n a dj u di c ati n g w h et h er p arti c ul ar d o c u m e nts ar e pr o p erl y wit h h el d fr o m t h e r e c or d o n t h e

b asis of pri vil e g e is c o nsist e nt wit h, n ot c o ntr ar y t o, t h e m a n d a t e of t h e c o urts [ u n d er t h e A P A]

t o r e vi e w t h e ‘ w h ol e r e c or d,’ a n d e v al u at e w h et h er t h e a g e n c y ‘ e x a mi n e[ d] t h e r el e v a nt d at a a n d

arti c ul at e[ d] a s atisf a ct or y e x pl a n ati o n f or its a cti o n. ’” 2 0 2 0 W L 6 0 4 4 9 2, at * 2 ( q u oti n g

O v ert o n , 4 0 1 U. S. at 4 1 9, a n d M ot or V e hi cl e Mfrs. Ass’ n v. St at e F ar m M ut. A ut o. I ns. C o. , 4 6 3

U. S. 2 9, 4 3 ( 1 9 8 3)). A n d wit h o ut a pri vil e g e l o g, a c o urt w o ul d b e “ u n a bl e t o d et er mi n e w h et h er

a n ass ert e dl y -pri vil e g e d d o c u m e nt w as pr o p erl y e x cl u d e d fr o m t h e r e c or d .” I d. at * 2 . F or

si mil ar r e as o ns, r e q uiri n g a pri vil e g e l o g is als o c o nsist e nt wit h, n ot c o ntr ar y t o, t h e pr es u m pti o n

of r e g ul arit y t h at a p pli es t o a g e n c y d e cisi o n -m a ki n g. I n d e e d, alt h o u g h a g e n c y a cti o ns, i n cl u di n g

c o m pil ati o n of t h e a d mi nistr ati v e r e c or d, ar e e ntitl e d t o t h e pr es u m pti o n of r e g ul arit y, “t h at

pr es u m pti o n is n ot t o s hi el d [t h e] a cti o n fr o m a t h or o u g h, pr o bi n g, i n -d e pt h r e vi e w. ” O v ert o n

P ar k , 4 0 1 U. S. at 4 1 5. To q u ot e J u d g e R a k off a g ai n: “ Pr o d u cti o n of a pri vil e g e l o g d o es n ot

gi v e t h e C o urt a n y o c c asi o n t o e x p a n d t h e a d mi nistr ati v e r e c or d t o e n c o m p ass a n y d o c u m e nt n ot

pr o p erl y i n cl u d e d; it si m pl y all o ws t h e C o urt t o h a v e s o m e o v ersi g ht of t h e a g e n c y’ s ass erti o ns

of pri vil e g e, t h e s a m e r ol e it w o ul d ass u m e wit h r es p e ct t o a n y ot h er liti g a nt. ” I d. at * 3 .



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           F or t h es e r e as o ns, it m a y w ell b e t h at — at l e ast a bs e nt a s h o wi n g of u n d u e b ur d e n,

w hi c h , c o ns pi c u o usl y, D ef e n d a nts d o n ot e v e n att e m pt t o m a k e h er e — “ distri ct c o urts s h o ul d

gr a nt m oti o ns t o c o m p el pr o d u cti o n of a pri vil e g e l o g i n A P A a cti o ns as a m att er of c o ur s e. ”

St at e of N. Y. v. I C E, 2 0 2 0 W L 6 0 4 4 9 2, at * 3 . T h at is , n eit h er l o gi c n or t h e l a w of t his Cir c uit

s u g g ests t h at d ef e n d a nts i n A P A c as es s h o ul d b e i m m u n e fr o m t h e st a n d ar d r e q uir e m e nt i n ci vil

liti g ati o n t o pr o d u c e a pri vil e g e l o g listi n g d o c u m e nts wit h h el d o n t h e b asis of pri vil e g e so t h at

t h e ot h er si d e m a y t est t h e ass erti o n a n d a n y dis p ut es m a y b e r es ol v e d b y t h e c o urt . B ut t h e

C o urt n e e d n ot g o t h at f ar b e c a us e t h e C o urt c o n cl u d es, b as e d o n t h e t ot alit y of t h e

cir c u mst a n c es h er e , t h at Pl ai ntiffs ar e e ntitl e d t o a pri vil e g e l o g t o e v al u at e w h et h er t h e y h a v e t h e

“ w h ol e r e c or d ” f or p ur p os es of t h e A P A. T h e f a ct t h at t h e A d mi nistr ati v e R e c or d is a m er e

si xt y-f o ur p a g es s u g g ests t h at “t h ere ar e c orr es p o n di n gl y f e w d eli b er ati v e d o c u m e nts t h at w o ul d

n e e d t o b e list e d o n a pri vil e g e l o g, a n d t h at t h e b ur d e n w o ul d c o ns e q u e ntl y b e s m all. ” S e e St at e

of N. Y. v. I C E, 2 0 2 0 W L 6 0 4 4 9 2, at * 3. Alt er n ati v el y, a n d mi n df ul of d ef e ns e c o u ns el’s

r e pr es e nt ati o n d uri n g t h e i niti al pr etri al c o nf er e n c e t h at a pri vil e g e l o g mi g ht c o nt ai n “ a

v ol u mi n o us a m o u nt of m at eri al, ” E C F N o. 3 1, at 8 , t h e m e a g er si z e of t h e A d mi nistr ati v e R e c or d

r ais es t h e r e al p ossi bilit y t h at D ef e n d a nts wit h h el d d o c u m e nts t h at w o ul d b e criti c al t o Pl ai ntiffs’

c as e a n d t o t h e C o urt’s e v al u ati o n u n d er t h e A P A. I n eit h er c as e, a privil e g e l o g is a p pr o pri at e .3




3
            D ef e n d a nts a r g u e t h at “ Pl ai ntiffs h a v e f ail e d t o m a k e a str o n g s h o wi n g of b a d f ait h or
i m pr o p er b e h a vi or i n t h e d esi g n ati o n of t h e A d ministr ati v e R e c or d. ” D efs. ’ S u p p. Ltr. 1. T h e
iss u e of b a d f ait h, h o w e v er, is m or e r el e v a nt t o t h e pr o pri et y of “ a n e xtr a -r e c or d i n v esti g ati o n b y
t h e r e vi e wi n g c o urt ” t h a n it is t o t h e pr o pri et y of a pri vil e g e ass erti o n, w hi c h b e ars o n w h et h er
t h e r e c or d is c o m pl et e i n t h e first i nst a n c e. S e e N at’l A u d u b o n S o c’ y v. H off m a n , 1 3 2 F. 3 d 7, 1 4
( 2 d Cir. 1 9 9 7) ( e m p h asis a d d e d); a c c or d C o m pr e h e nsi v e C mt y. D e v. C or p. v. S e b eli us , 8 9 0 F.
S u p p. 2 d 3 0 5, 3 0 8 ( S. D. N. Y. 2 0 1 2) ( disti n g uis hi n g c h all e n g es t o t h e c o m pl et e n e ss of t h e
a d mi nistr ati v e r e c or d fr o m r e q u ests f or “t h e c o urt [t o] c o nsi d er e xtr a -r e c or d e vi d e n c e ”).
M or e o v er, e v e n o n D ef e n d a nts’ o w n vi e w, a s h o wi n g of b a d f ait h or i m pr o p er b e h a vi or is
m er el y a n alt er n ati v e r e as o n t o r e q uir e a pri vil e g e l o g. S e e D efs.’ Ltr. 3 .

                                                                        6
              Case 1:20-cv-01142-JMF Document 49 Filed 04/29/20 Page 7 of 7




          I n s h ort, t h e C o urt a d h er es t o its or d er m a n d ati n g t h at, n o l at er t h a n M a y 1, 2 0 2 0,

D ef e n d a nts pr o d u c e a “ l o g listi n g a n y d o c u m e nts wit h h el d, i n w h ol e or i n p art, fr o m t h e

A d mi nistr ati v e R e c or d o n t h e b asis of pri vil e g e . ” E C F No. 2 2 , at 2. Si g nifi c a ntl y, t h e C o urt

d o es n ot, at t his ti m e, or d er “t h e pr o d u cti o n of a n y d o c u m e nts o v er w hi c h t h e G o v er n m e nt

ass erts pri vil e g e ”; it m er el y or d ers a pri vil e g e l o g. I n r e Ni els e n , sli p. o p. at 5 . T o t h e e xt e nt t h at

Pl ai ntiffs c h all e n g e a n y of D ef e n d a nts’ ass erti o ns i n t h e l o g, t h e C o urt will, of c o urs e, “ pr o vi d e

t h e G o v er n m e nt wit h a n o p p ort u nit y t o b e h e ar d ” a n d e ns ur e “ a n or d erl y r es ol uti o n of a n y ”

dis p ut es. I d.; s e e I n r e U nit e d St at es , 5 8 3 U. S. — , 2 0 1 7 W L 6 5 0 5 8 6 0, at *2 ( D e c. 2 0, 2 01 7)

( N o. 1 7-8 0 1) (“ [ T]h e Distri ct C o urt m a y n ot c o m p el t h e G o v er n m e nt t o dis cl os e a n y d o c u m e nt

t h at t h e G o v er n m e nt b eli e v es is pri vil e g e d wit h o ut first pr o vi di n g t h e G o v er n m e nt wit h t h e

o p p ort u nit y t o ar g u e t h e iss u e . ”). T o t h at e n d, if Pl ai ntiffs dis p ut e a n y of D ef e n d a nts’ pri vil e g e

ass erti o ns, c o u ns el s h all m e et a n d c o nf er i n g o o d f ait h i n a n att e m pt t o r es ol v e t h e dis p ut e a n d,

a bs e nt a r es ol uti o n, t o a gr e e u p o n pr o c e d ur es t o r ais e t h e dis p ut e wit h t h e C o urt.


           S O O R D E R E D.

D at e d: A pril 2 9, 2 0 2 0                                             __________________________________
          N e w Y or k, N e w Y or k                                                 J E S S E M. F U R M A N
                                                                                 U nit e d St at es Distri ct J u d g e




                                                                      7
